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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

AMERICAN ASSOCIATION OF UNIVERSITY
PROFESSORS,

AMERICAN ASSOCIATION OF UNIVERSITY
PROFESSORS-HARVARD FACULTY         Civil Action No. 1:25-cv-10685-WGY
CHAPTER,

AMERICAN ASSOCIATION OF UNIVERSITY
PROFESSORS AT NEW YORK UNIVERSITY,

RUTGERS AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS-AMERICAN
FEDERATION OF TEACHERS, and

MIDDLE EAST STUDIES ASSOCIATION,

                    Plaintiffs,

      v.

MARCO RUBIO, in his official capacity as
Secretary of State, and the DEPARTMENT OF
STATE,

KRISTI NOEM, in her official capacity as
Secretary of Homeland Security, and the
DEPARTMENT OF HOMELAND SECURITY,

TODD LYONS, in his official capacity as Acting
Director of U.S. Immigration and Customs
Enforcement,

DONALD J. TRUMP, in his official capacity as
President of the United States, and

UNITED STATES OF AMERICA,

                    Defendants.

 UNOPPOSED MOTION FOR LEAVE TO FILE AMICUS BRIEF OF PRESIDENTS’
  ALLIANCE ON HIGHER EDUCATION AND IMMIGRATION IN SUPPORT OF
        PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
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       In accordance with Local Rule 7.1(b)(3), proposed amicus curiae, the Presidents’ Alliance

on Higher Education and Immigration (the “Alliance”), respectfully requests leave to file the

attached amicus brief in support of Plaintiffs’ Motion for Preliminary Injunction (ECF 13, 14) (the

“Motion”) in the above-captioned matter. In furtherance of this motion, the Alliance states as

follows:

       1.      The Alliance is a nonpartisan, educational and advocacy non-profit organization

that brings together over 570 presidents and chancellors of higher education institutions who lead

institutions public and private, large and small, urban and rural, faith-based and secular, across the

country. The Alliance is committed to increasing public understanding of the impact of

immigration policies on higher education on our students, institutions and country and supporting

immigration policies and practices that will encourage international students and scholars to enrich

American institutions of higher learning. The challenged policy harms the Alliance’s member

institutions and over five million students. The Alliance thus has a strong interest in explaining the

effects of the policy at issue and why it should be enjoined.

       2.      The Court has discretion to permit the filing of amicus curiae briefs. See Bos. Gas

Co. v. Century Indem. Co., Civ. Action No. 02–12062–RWZ, 2006 WL 1738312, at *1 n.1

(D. Mass. June 21, 2006) (“[C]ourts have inherent authority and discretion to appoint amici.”).

Amicus briefing is allowed “to assist the court in cases of great public interest by making

suggestions to the court, by providing supplementary assistance to existing counsel, and by

insuring a complete and plenary presentation of difficult issues so that the court may reach a proper

decision.” Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 308 F.R.D.

39, 52 (D. Mass. 2015), aff’d, 807 F.3d 472 (1st Cir. 2015) (internal citations and quotations

omitted).
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       3.      The Alliance’s attached proposed amicus brief will assist the Court in consideration

of the pending Motion because the Alliance has unique insight into how the administration’s policy

of targeting non-citizen students and faculty at institutions of higher education throughout the

country based on their political views imminently harms American students, universities, and the

nation, and why enjoining such a policy is in the public interest. The Alliance’s member

institutions are firsthand witnesses to the climate of fear generated by the policy. They have seen

how the climate of fear jeopardizes their abilities to fulfill their educational missions of educating

the next generation of entrepreneurs, researchers, and leaders because of the policy’s threats to the

constitutionally-protected rights of freedom of speech and assembly for citizens and non-citizens.

Because Alliance member institutions are a significant sector of the American economy and play

a major role in American research and innovation, they also offer important insight into the

policy’s harm to American economic and competitive interests.

       4.      The proposed brief, excluding exhibits and appendices, does not exceed twenty

pages in length.

       5.      All parties have consented to the relief requested by this motion.

WHEREFORE, Presidents’ Alliance on Higher Education and Immigration respectfully requests

that this Court grant leave to file the attached amicus brief.
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Dated:   April 9, 2025                 Respectfully submitted,


                                      /s/ Lauren Godles Milgroom
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                                      Immigration
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                             LOCAL RULE 7.1 CERTIFICATION

       I hereby certify that counsel for proposed amicus curiae has conferred with counsel for the

parties. No parties oppose the request for leave to file.


                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants on the Notice of Electronic Filing (NEF) on April 9, 2025.



                                                       /s/ Lauren Godles Milgroom
                                                       Lauren Godles Milgroom (BBO No. 698743)
